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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DONALD J. TRUMP,
                                 Plaintiff,

 - against -                                             Case No. 1:19-cv-08694-VM
 CYRUS R. VANCE, JR., in his official capacity
 as District Attorney of the County of New
 York; SOLOMON SHINEROCK, in his
 official capacity as Assistant District Attorney
 for the County of New York;

 and

 MAZARS USA, LLP,
                                 Defendants.

                         MOTION FOR ADMISSION PRO HAC VICE
        Pursuant to Rule 1.3 of the Local Rules of the United States District Court for the Southern

District of New York, I, William S. Consovoy, hereby move this Court for an Order for admission to

practice pro hac vice to appear as counsel for Plaintiff in the above-captioned action.

        I am in good standing of the bars of Virginia and the District of Columbia, and there are no

pending disciplinary proceedings against me in any state or federal court.

Dated: September 19, 2019                                Respectfully Submitted,

                                                          /s/ William S. Consovoy
                                                         William S. Consovoy
                                                         CONSOVOY MCCARTHY PLLC
                                                         1600 Wilson Blvd., Ste. 700
                                                         Arlington, VA 22209
                                                         (703) 243-9423
                                                         will@consovoymccarthy.com
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DONALD J. TRUMP,
                                   Plaintiff,

 - against -                                            Case No. 1:19-cv-08694-VM
 CYRUS R. VANCE, JR., in his official capacity
 as District Attorney of the County of New
 York; SOLOMON SHINEROCK, in his
 official capacity as Assistant District Attorney
 for the County of New York;

 and

 MAZARS USA, LLP,
                                   Defendants.

                        DECLARATION OF WILLIAM S. CONSOVOY
I, William S. Consovoy, declare:
    1. I am an attorney at the law firm Consovoy McCarthy PLLC, counsel for Plaintiff in the above-
       captioned action. I am over the age of eighteen and am under no mental disability or
       impairment.
    2. I have never been convicted of a felony.
    3. I have never been censured, suspended, disbarred, or denied admission or readmission by any
       court.
    4. There are no pending disciplinary proceedings against me.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and correct.

Executed on September 19, 2019                         /s/ William S. Consovoy
                                                       William S. Consovoy
                                                       CONSOVOY MCCARTHY PLLC
                                                       1600 Wilson Blvd., Ste. 700
                                                       Arlington, VA 22209
                                                       (703) 243-9423
                                                       will@consovoymccarthy.com
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  On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                   the District of Columbia Bar does hereby certify that



                        William S Consovoy
          was duly qualified and admitted on July 8, 2005 as an attorney and counselor entitled to
         practice before this Court; and is, on the date indicated below, an Active member in good
                                              standing of this Bar.




                                                                            In Testimony Whereof,
                                                                        I have hereunto subscribed my
                                                                        name and affixed the seal of this
                                                                             Court at the City of
                                                                         Washington, D.C., on August
                                                                                   27, 2019.




                                                                             JULIO A. CASTILLO
                                                                               Clerk of the Court




                                                                   Issued By:
                                                                            District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DONALD J. TRUMP,
                                 Plaintiff,

 - against -                                            Case No. 1:19-cv-08694-VM

 CYRUS R. VANCE, JR., in his official capacity
 as District Attorney of the County of New
 York; SOLOMON SHINEROCK, in his
 official capacity as Assistant District Attorney
 for the County of New York;

 and

 MAZARS USA, LLP,
                                 Defendants.

                           ORDER FOR ADMISSION PRO HAC VICE
        The motion of William Consovoy for admission to practice pro hac vice in the above-captioned

action is granted.

        Applicant has declared that he is a member in good standing of the bars of Virginia and the

District of Columbia, and that his contact information is as follows:

        William S. Consovoy
        CONSOVOY MCCARTHY PLLC
        1600 Wilson Blvd., Ste. 700
        Arlington, VA 22209
        (703) 243-9423
        will@consovoymccarthy.com

Applicant having requested admission pro hac vice to appear for all purposes as counsel for Plaintiff in

the above-entitled action;

        IT IS HEREBY ORDERED that Applicant is admitted to practice pro hac vice in the above-

captioned case in the United States District Court for the Southern District of New York. All attorneys

appearing before this Court are subject to the Local Rules of this Court, including the Rules governing

discipline of attorneys.



                                                    1
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Dated: ______________              ________________________________

                                   United States District / Magistrate Judge




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